8:13-cr-00362-BCB-MDN          Doc # 61     Filed: 04/23/14     Page 1 of 2 - Page ID # 103




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:13CR362
                                              )
              Plaintiff,                      )
                                              )
       vs.                                    )               TENTATIVE FINDINGS
                                              )
ANDREA MCCORD,                                )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report and Addendum

(“PSR”), and the Defendant's objection and statement (Filing Nos. 57 and 60). See Order on

Sentencing Schedule, ¶ 6. (It appears that the Defendant’s objection is to paragraph #30 of

the PSR, and that the objection presented in Filing No. 57, referring to paragraph #29 is in

error and moot.) The government did not file an objection to the PSR, but the Court takes note

that in the Addendum to the PSR, the government also objected to Paragraph #30. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory. Further, the Court intends to honor the parties’ plea agreement.

       Accordingly,

       IT IS ORDERED:

       1.     The Defendant’s“Objection to the Presentence Investigation Report” (Filing No.

57) and Statement of Defendant Pursuant to Court’s Standing Order of February 16, 1988 In

Re: Implementing of Sentencing Procedures (Filing No. 60) will be heard at the sentencing

hearing;

       2.     The Court intends to adopt the PSR in all other respects;
8:13-cr-00362-BCB-MDN          Doc # 61      Filed: 04/23/14    Page 2 of 2 - Page ID # 104




       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and © if an evidentiary hearing

is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these amended tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 23rd day of April, 2014.

                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            Chief United States District Judge
